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                    Exhibit 18
                    Case
                     Case2:24-cv-01608-WSS
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A0245B        (Rev. 09111) Judgment in a Criminal Case
              Sheet I



                                          UNITED STATES DISTRICT COURT
                                                         Western District of Pennsylvania
                                                                          )
              UNITED STATES OF AMERICA                                            JUDGM}:l\~T IN A CRIMINAL CASE
                                                                          )
                                  v.                                      )
                   LANDON CLAYBOURNE                                      )
                                                                                  Case Number:          10~187~3
                                                                          )
                                                                          )       USM Numb~jr: 32609068
                                                                          )
                                                                          )       James Wymard
                                                                                 - - - _..• _ " - - - - - - - - - - ­
                                                                                  Defendant's Attomey
THE DEFENDANT:
ijl"pleaded guilty to count(s)         a lesser included offense at Count 1 of the         nor",ot1lonn   Indictment

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty,

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                            Offense Ended             Count
 21 U.S.C. sec 846                 Conspiracy to distrib(lt~ and PQ$sess with intentto ~istribU~....           1012512010                 a lesser
                                   at least 80 grams but less than 100 grams of a mixhlm                                                  offense at

                                   and sybstance cont~ning a deteQt!itQ.1e amountef ~roin.                                                Count 1s

       The defendant is sentenced as provided in pages 2 through           __6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o The defendant has been found not guilty on count(s)
DCount(s)
            --------------- o is                                  o are dismissed on the motion of the United States.
         It is ordered that the defendant must notity the United States attorney for this district within 30 days ofany change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notity the court and United States attorney of material changes in econmmc circumstances.

                                                                           8/14/2012




                                                                           Donetta W. Ambros_e___________U_:S. Sr. District Judge
                                                                          Name and Title of Judge


                                                                           8/14/2012
                    Case
                     Case2:24-cv-01608-WSS
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AO 2458     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment
                                                                                                     Judgment-Page    _-=2,-- of   6
DEFENDANT: LANDON CLAYBOURNE
CASE NUMBER: 10-187-3


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 41 months.




    if The court makes the following recommendations to the Bureau of Prisons:
 Defendant be incarcerated at FCI Loretto or as close to Pittsburgh as possible. Defendant be deemed eligible to partiCipate
 in the 500 hour intensive drug treatment program.


    ilf The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
              at                                     D a.m.       p.m.     on
                       --------
          D as notified by the United States Marshal.

    D     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

              before 2 p.m. on

          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                       to

a ______________________ , with a certified copy of this judgment.




                                                                         By
                                                                                             DEPUTY UNITED STATES MARSHAL
                     Case
                      Case2:24-cv-01608-WSS
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AO 2458       (Rev, 09/11) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                            Judgment-Page   _-=-3_ of          6
DEFENDANT: LANDON CLAYBOURNE
CASE NUMBER: 10-187-3
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a tern1 of:
 3 years.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imptisonment and at least two periodic drug tests
thereafter, as determined by the court.
D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check. if applicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any c,thl~r dangerous weapon. (Check. if applicable.)

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
o        as directed by the probatIon officer, the Bureau of Prisons, or any state sex offender n:gistration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

         The defendant shall participate in an approved program for domestic violence. (Ch~ck if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised reh:as() that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           ST ANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the permission of the conrt or probation officer;
  2}      the defendant shall report to the probation officer in a manner and frequency directe,d by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any I'ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view ofthe probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being am:sted or questioned by a law enforcement officer;
 12}      the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permiSSion of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or £ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 2458   (Rev. 09111) Judgment in a Criminal Case
          Sheet 3A - Supervised Release
                                                                                          Judgment-Page     4
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DEFENDANT: LANDON CLAYBOURNE
CASE NUMBER: 10-187-3

                                    ADDITIONAL SUPERVISED RELEAS:E TERMS
 1. The defendant shall participate in a program of testing and, if necessary, treatment for substance abuse, said program
 approved by the probation officer, until such time as the defendant is released from the program by the Court. Further, the
 defendant shall be required to contribute to the costs of services for any such treatment in an amount determined by the
 probation officer but not to exceed the actual cost. The defendant shall submit to one drug urinalysis within 15 days after
 being placed on supervision and at least two periodic tests thereafter.

 2. The defendant shall participate in an alcohol aftercare treatment program approved by the probation officer, which may
 include urine testing, until released from the program by the court. The defendant is prohibited from consuming alcohol.

 3. The defendant shall submit his person, property, house, residence, vehicle. papers, business or place of employment,
 to a search, conducted by a United States probation/pretrial services officer at a reasonable time and in a reasonable
 manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to
 submit to a search may be grounds for revocation. The defendant shall inform any other residents that the premises may
 be subject to searches pursuant to this condition.
                  Case
                   Case2:24-cv-01608-WSS
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AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 5 Criminal Monetary Penalties
                                                                                                         Judgment - Page      5     of         6
DEFENDANT: LANDON CLAYBOURNE
CASE NUMBER: 10-187-3
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                                             Fine                               Restitution
TOTALS            $ 100.00                                               $ 0.00                             $ 0.00


D The determination of restitution is deferred until _ _ _ . An Amended Judgmen r in a Criminal Case (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     Ifthe defendant makes a partial payment, each payee shall receive an approximateIYf.:roportioned8aYl!lent, unless specified otherwise in
     the priority order or percentage payment colwnn below. However, pursuant to 18 I .S.C. § 3664 1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                               Total Loss'"       R~~stitution Ordered        Priority or Percentalle

                                                                                              I




TOTALS                              $               0.00                                            0.00
                                        ----------------                      $---------­


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unle!ls the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the               D fine     D restitution.
     D the interest requirement for the              D   fine    D restitution is modified as fbllows:


* Findings for the total amount oflosses are required under Chapters 109A, 110, II OA, and 113A ofTitle 18 for offenses committed on or after
Septemoer 13, 1994, but before April 23, 1996.
                   Case
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AD 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                                Judgment - Page _-",6_ of
DEFENDANT: LANDON CLAYBOURNE
CASE NUMBER: 10-187-3

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ~ Lump sum payment of $ __~10_0_.0_0_ _ __ due immediately, balance due

           D     not later than                                      , or
                 in accordance           D C,         D D,      D           or     D F below; or
B          Payment to begin immediately (may be combined with                    D C,     D D, or       D F below); or
C    D     Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g.. months or years), to commence                        (e.g., 30 or 60 d~ys) after the date of this judgment; or

D    D     Payment in equal                          (e.g.. weekly, monthly, quarterly) installment!: o:~ $        __              over a period of
                           (e.g.. months or years), to commence                        (e.g.. 30 or 60 d,ys) after release from imprisonment to a
          ----­
           term of supeIVision; or

E    D     Payment during the term of supeIVised release will commence within ___.__ ~ (e.g.• 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment ofth(: defendant's ability to pay at that time; or

F    D     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All Criminal monetary penalties, except those payments made through tlle Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




     Joint and Several

     Defendant and ~o-Defend~nt Name~ and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and correspondmg payee, If approprIate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (31 restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of proi:ecution and court costs.
